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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                    SCHEDULING ORDER

                                                                    05-CR-6161L

                      v.

JOHN NICOLO,
DAVID FINNMAN and CONSTANCE ROEDER,



                              Defendants.
________________________________________________


       Defendant John Nicolo (“Nicolo”) moves (Dkt. #324) for reconsideration of this Court’s oral

order of May 20, 2008, detaining him pending sentence, which is currently scheduled for August

27, 2008. In a memorandum of law (not an affidavit), one of Nicolo’s lawyers contends that

Nicolo’s health has deteriorated in the few weeks since he has been detained and for that reason,

among others, he seeks Nicolo’s release pending sentencing. The memorandum also suggests that

the Government, specifically the United States Marshal’s Service, has changed Nicolo’s medication

regime with negative effects.

       There is no doubt that the Government must properly care for an inmate in its custody and

that includes providing proper medical care. If the Government is unable or unwilling to provide

such care, then a change in defendant’s release status may be appropriate.
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       Before any action will be taken, though, this Court needs more information than what is

contained in a legal memorandum. Affidavits from persons who have personal knowledge and/or

affidavits or statements from Nicolo’s medical provider or treating physician would be more helpful

than what has been provided.

       I decline to modify the detention order on the present state of the record. Nicolo must

supplement the pending motion with more specific, detailed information from persons with

knowledge or medical expertise. When, and if, that material is provided, the Government must

respond to it within ten (10) days and, in so doing, advise the Court precisely how the defendant ‘s

documented medial needs are being met.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge


Dated: Rochester, New York
       July 7, 2008.




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